                                   Case 3:21-md-02981-JD Document 888-7 Filed 12/21/23 Page 1 of 1



                         Worldwide App Developer Quarterly Revenue from Selected Sources (Excluding China)


                 $10.0




                  $7.5
USD (Billions)




                  $5.0




                  $2.5




                    0




Note:
“Worldwide App Developer Quarterly Revenue from Selected Sources (Excluding China)” represents developer payout (user spend minus service fees paid to Google). It
is computed using worldwide app revenue data, which includes revenues from initial download fees, in-app purchases, and in-app subscriptions. Data presented are from
2012Q1 to 2021Q4.

Sources: “Google Revenue by App Category,” GOOG-PLAY-010801685.R; “Developer Revenue by App Category,”
GOOG-PLAY-010801686.R.




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